                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


TANIZIA WLLIAMS                                      CIVIL ACTION NO.: 2:18-cv-02793
Plaintiff                                            SECTION: H


-VS-                                                 DISTRICT JUDGE: MILAZZO


SUPERIOR HOSPITALITY STAFFING,
INC.; SUPERIOR HOSPITALITY SYSTEMS,
INC.; SUPERIOR HOSPITALITY
SYSTEMS MANAGEMENT, INC;
SUPERIOR HOSPITALITY JANITORIAL
SERVICES, INC.; and SHANE MILLIET
Defendant                                            MAGISTRATE: MEERVELD



       MEMORANDUM IN SUPPORT OF MOTION TO DISMISS FOR LACK OF
PERSONAL JURISDICTION AND INSUFFICIENCY OF PROCESS AND MOTION TO
  OUASH PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12                                    & (5)


       NOW INTO COURT, through undersigned counsel, comes Defendants, SHS GROUP,

SUPERIOR HOSPITALITY STAFFING, and SHS MANAGEMENT, INC., who respectfully

submit this memorandum in support oftheir motion to dismiss for lack ofpersonal jurisdiction and

insufficiency of process and motion to quash.

       A court must dismiss a case for lack of personal jurisdiction. Fed. R. Civ. P. 12(b)(2).

Proper service of process must be had on a defendant or else the court is deprived of personal

jurisdiction over that defendant. Omni Capital Int'l, Ltd v. Rudolf Wolff& Co., Ltd., 484 U.S. 97,

104, 108 S. Ct. 404, 409 (1987). Mere notice of the suit is not sufficient to establish personal

jurisdiction over a defendant. Id. A court may dismiss a case for insufficient service of process

where the process was not served in the appropriate manner. Fed. R. Civ. P. 12(b)(5); Clark v.

Johnson County, No. 3:01-CV-2231-M, 2002 WL 912778, *2 (N.D. Tex. March 27,2002). In the

alternative, where service is not effected in a manner prescribed by federal or state law, a court

may quash the service of process. Stokes v. Scott, No. 3:98-CV- 1140-L, 2000 WL 343185, *3

(N.D.Tex. March 31,2000).
        Service may be had on an unincorporated association by "delivering a copy ofthe summons

and of the complaint to an officer, a managing or general agent, or to any other agent authorized

by appointment or by law to receive service ofprocess." Fed. R. Civ. P. 4(h)(1). Strict compliance

with the federal rules for service of process is required. Rogers v. Hartford Life and Accident Ins.

Co., 167 F.3d 933,940 (5th Cir. 1999). The serving party bears the burden of proof in establishing

valid service of process where the sufficiency of service is contested. Carimi v. Royal Carribean

Cruise Line, Inc., 959 F.2d 1344,1346 (5th Cir. 1992).

        Service of process was insufficient for the following reasons. There is no entity registered

with the Secretary of State by the name of SHS Management, Inc. Therefore, in accordance with

FRCP Rule 4(h)(1), there is not an officer, manager or general agent, or any other agent authorized

by appointment or by law to receive service ofprocess. Shane Milliet is not an officer, manager or

registered agent ofa Louisiana entity by the name of SHS Management, Inc. Thus, service process

on defendant was insufficient pursuant to Rule 12(b)(5).

       SHS Group was not properly served. Shane Milliet is not an officer, manager or registered

agent of a Louisiana entity by the name of SHS Group. Thus, service process on defendant was

insufficient pursuant to Rule 12(b)(5).

       There is no entity registered with the Secretary ofState by the name of Superior Hospitality

Staffing. Shane Milliet is not an officer, manager or registered agent of a Louisiana entity by the

name of SHS Group. Thus, service process on defendant was insufficient pursuant to Rule

12(b)(5).

       Accordingly, Defendants request this Court either to dismiss this cause of action against it

without prejudice or in the alternative, to quash the service of process.
                                                Respectfully submitted:

                                                ALLEN & GOOCH
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                                                /s/Laura P, Johnson
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                                                Attorneys for Defendants, SHS GROUP,
                                                SUPERIOR HOSPITALITY STAFFING, and SHS
                                                MANAGEMENT, INC.


                                   CERTIFICATE OF SERVICE


          I hereby certify that on this 22"'^ day of February, 2019, a copy of the foregoing was filed

electronically on behalf of Defendants, SHS GROUP, SUPERIOR HOSPITALITY STAFFING,

and SHS MANAGEMENT, INC., with the Clerk of Court using the CM/ECF system. Notice of

this filing will be sent to all listed counsel of record by operation of the court's electronic filing

system.



                                                /s/Laura P. Johnson
                                                LAURA PRYOR JOHNSON
